                 Exhibit 1

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Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 1 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 2 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 3 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 4 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 5 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 6 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 7 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 8 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 9 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 10 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 11 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 12 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 13 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 14 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 15 of 16
Case 1:20-cv-00954-WO-JLW Document 166 Filed 02/17/23 Page 16 of 16
